






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00378-CV






Pamela M. Rogers, Appellant



v.



Horis Stedman, M.D., Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT


NO. 20606, HONORABLE KEN ANDERSON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



	After filing a notice of appeal, appellant Pamela M. Rogers has failed to file a clerk's
record or a reporter's record.  Appellant failed to file the requisite filling fee.  Her counsel filed a
motion to withdraw, and the Court allowed him to withdraw.  On July 25, 2003, the Clerk of this
Court sent written notice to appellant that if she did not designate, pay for and file a clerk's record,
or otherwise respond to the Court, by August 5, the cause would be dismissed for want of
prosecution.  Appellant has failed to respond.

	Consequently, this appeal is hereby dismissed for want of prosecution pursuant to
Texas Rules of Appellate Procedure 38.8(a)(1), 42.3(b) and (c).


					                                                                                    

					Jan P. Patterson, Justice

Before Chief Justice Law, Justices Kidd and Patterson

Dismissed for Want of Prosecution

Filed:   August 14, 2003


